Case 6:23-cv-00069-NKM-CKM Document 22 Filed 06/18/24 Page 1 of 2 Pageid#: 126




                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Lynchburg Division

KEVIN FORTIER, individually on behalf of
himself, and on behalf of all others similarly
situated, et al.,

                                       Plaintiffs,
v.                                                         Civil Action No. 6:23-cv-69


LIBERTY UNIVERSITY, INC.,

                                       Defendant.




                        JOINT MOTION TO APPROVE SETTLEMENT


          Plaintiff Kevin Fortier and Defendant Liberty University, Inc. (collectively the “Parties”),

 by their respective counsel, respectfully move this Court to approve their settlement in this matter

 for the reasons more fully set forth in the accompanying memorandum of law.

                                           CONCLUSION

          Wherefore the parties request that the Court approve the settlement and enter the Proposed

 Order provided as an attachment to this Motion.

 Respectfully submitted,

     By:_/s/________________                         By: /s/_____________
     Brittany M. Haddox (VSB No. 86416)              King F. Tower, Esq. (VSB No. 38767)
     L. Leigh Rhoads (VSB No. 73355)                 WOODS ROGERS VANDEVENTER BLACK
     VIRGINIA EMPLOYMENT LAW                         king.tower@woodsrogers.com
     4227 Colonial Avenue                            10 South Jefferson Street, Suite 1800
     Roanoke, VA 24018                               Roanoke, Virginia 24011
     Tel: (540) 283-0802                             Telephone: (540) 983-7541
     brittany@vaemployment.law                       Facsimile: Main (540) 983-7711
     leigh@vaemployment.law
                                                     Leah M. Stiegler, Esq. (VSB No. 89602)
     Craig J. Curwood (VSB No. 43975)                leah.stiegler@woodsrogers.com
Case 6:23-cv-00069-NKM-CKM Document 22 Filed 06/18/24 Page 2 of 2 Pageid#: 127




  Zev H. Antell (VSB No. 74634)                    Emily K. Chowhan (VSB No. 95845)
  BUTLER CURWOOD, PLC                              emily.kendallchowhan@woodsrogers.com
  140 Virginia Street, Suite 302                   901 East Byrd Street, Suite 1550
  Richmond, Virginia 23219                         Richmond, Virginia 23219
  Tel: (804) 648-4848                              Telephone: (804) 956-2058
  craig@butlercurwood.com                          Facsimile: (804) 944-2561
  zev@butlercurwood.com

  Counsel for Plaintiff                            Counsel for Defendant




                                   CERTIFICATE OF SERVICE

           I certify that, on June 18, 2024, the foregoing was filed electronically with the Clerk of

 Court using the CM/ECF system, which will send notification of such filing (NEF) to counsel of

 record.



                                                        _____/s/ Brittany M. Haddox .
                                                               Brittany M. Haddox




                                                   2
